UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                             )
 IN RE:                                                      )   Chapter 11
                                                             )
 ROCHESTER DRUG CO-OPERATIVE, INC.,                          )   Case No.20-20230 (PRW)
                                                             )
                                Debtor.                      )
                                                             )

                                 CERTIFICATE OF SERVICE

STATE OF CALIFORNIA   )
                      )
COUNTY OF LOS ANGELES )


         I, Nancy H. Brown, am over the age of eighteen years, and am employed by

Pachulski Stang Ziehl & Jones LLP. I am not a party to the within action; my business

address is 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067.

        On September 21, 2022, I caused to be served a true and correct copy of Objection to

Claim 282 Asserted by Shareholder Klein Pharmacy, Inc. via the Court’s ECF system.

        I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

        Executed this 21st day of September, 2022 at Los Angeles, California.


                                                      /s/ Nancy H. Brown
                                                      Nancy H. Brown




DOCS_DE:240640.3 75015/003
 Case 2-20-20230-PRW, Doc 1651-4, Filed 09/21/22, Entered 09/21/22 15:51:50,
                  Description: Certificate of Service , Page 1 of 1
